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                                             Case No. 25-2935


                Wélniteh states Qllnurt of Qppeals fur the 3}3intIJ Qllirruit

                                             EPIC GAMES, INC.,
                                                                   Plaintiff-Appellee,
                                                       v.

                                                 APPLE INC.,
                                                               Defendant-Appellant.


                             On Appeal from the United States District Court
                  for the Northern District of California (Hon. Yvonne Gonzalez Rogers)
                                          No. 4:20-cv-05640-YGR


                     EMERGENCY MOTION UNDER CIRCUIT RULE 27-3
                        FOR A PARTIAL STAY PENDING APPEAL
                         RELIEF REQUESTED BY MAY 28, 2025


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                            CORPORATE DISCLOSURE STATEMENT

                    Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, the

             undersigned counsel of record certifies that Apple Inc. has no parent
             corporation and no publicly held corporation owns 10% or more of its stock.



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                                           INTRODUCTION
                    The district court's extraordinary Order includes a new injunction that

             permanently precludes Apple from exercising control over core aspects of its

             business operations, including charging for use of its property and protecting

             the integrity of its platform and in-app purchase mechanism. EX. A. These

             restrictions, which will cost Apple substantial sums annually, are based on

             conduct that has never been adjudicated to be (and is not) unlawful, rather,

             they were imposed to punish Apple for purported non-compliance with an

             earlier state-law Injunction that is itself invalid.

                    The Order proves the wisdom of the Supreme Court's observations that

             the contempt power is a "severe remedy," Taggart U. Lorenzo, 587 U.S. 554,

             560-61 (2019), that is "uniquely is 'liable to abuse," Int'l Union, United Mine

             Workers of Am. U. Bagwell, 512 U.S. 821, 881 (1994). In its merits appeal,

             Apple will demonstrate that it complied with the underlying Injunction by

             allowing iOS app developers to convey information to users about alternative

             purchase options. Apple will also show that the contempt and discovery

             sanctions are unwarranted, and that the district court committed other

             reversible errors including invasion of the attorney-client privilege.

                    In this motion, Apple seeks a stay of the prohibitions on (1) charging

             any commission or fee for transactions made through external purchase


                                                     1
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             links, and (2) setting any conditions on the language or placement of links or

             other references to external purchase options. These new rules were not part

             of the original Injunction:

                   Original
                  Injunction                          New Injunction
              Bars Apple from:      Bars Apple from:
              "prohibiting          1. Imposing any commission or any fee on
              developers from       purchases that consumers make outside an
              including in their app, and as a consequence thereof, no reason exists
              apps and their to audit, monitor, track or require developers
              metadata buttons, to report purchases or any other activity that
              external links, or consumers make outside an app,
              other calls to action 2. Restricting or conditioning developers' style,
              that           direct language, formatting, quantity, flow or placement
              customers          to of links for purchases outside an app,
              purchasing
              mechanisms,        in 3. Prohibiting or limiting the use of buttons or other
              addition to In-App calls to action, or otherwise conditioning the
              Purchasing [IAP] content, style, language, formatting, flow or
                 79                  placement of these devices for purchases
                                     outside an app,
                                     4. Excluding certain categories of apps and
                                     developers from obtaining link access,
                                     5. Interfering with consumers' choice to proceed in or
                                     out of an app by using anything other than a neutral
                                     message apprising users that they are going to a
                                     third-party site, and
                                     6. Restricting a developer's use of dynamic links that
                                     bring consumers to a specific product page in a
                                     logged-in state rather than to a statically defined
                                     page, including restricting apps from passing on
                                     product details, user details or other information that
                                     refers to the user intending to make a purchase.



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             Apple is likely to succeed on the merits of its challenges to these rules, which

             dramatically expand the original Injunction.

                    First, it is unlawful to prohibit Apple from charging a commission on

             linked transactions.        The original Injunction says nothing about
             commissions or pricing, and the court admitted it "did not select a rate."

             Order 58. The commission is also not the same conduct that formed the basis

             of the Injunction-the Order is targeting Apple's new practice of charging a

             commission on linked transactions, which did not even exist at the time of

             the original trial or appeal.        Yet the Order permanently imposes a
             commission of zero on such transactions, in violation of California law-

             which prohibits judicial iratemaking-as well as the Takings Clause of the

             Constitution. See Cedar Point Nursery U. Hassid, 594 U.S. 139 (2021). A

             federal court cannot force Apple to permanently give away free access to its

             products and services, including intellectual property

                    Second, it is unlawful to bar Apple from setting conditions for link

             placement and language. The Injunction says nothing about this, and Apple

             conditioned the language and placement of links to prevent developers from

             placing links within Apple's "buy flow," the digital equivalent of the checkout

             aisle. Allowing developers to interfere with and disparage IAP effectively



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             defeats IAP exclusivity-which this Court previously sustained. It also

             violates the First Amendment by requiring Apple to "accommodate messages

             it would prefer to exclude." Moody U. Netchoice, LLC, 603 U.S. 707, 731

             (2024).

                    These new rules are not temporary sanctions for non-compliance that

             Apple can purge. Nor are they mere clarifications of the Injunction. Instead,

             the district court took the highly irregular step of imposing new, different,

             and permanent restrictions because, in its view, Apple "flouted the Coulrt's

             order." Order 60 n.65. Even if that were true, that is punitive, but

             punishment cannot be imposed in civil contempt. Bagwell, 512 U.S. at 828.

             The new rules therefore violate foundational principles of due process, in

             addition to being substantively unlawful.

                    These new rules are independently invalid because the power of

             prospective enforcement "falls with an injunction which events prove was

             erroneously issued." United States U. United Mine Workers of Am., 330 U.S.

             258, 295 (1947). After the Injunction here issued, the California courts

             rendered a judgment that Apple's same anti-steering rules are not unfair

             under the UCL. Beverage U. Apple Inc.,101 Cal. App. 5th 736, 746-50 (2024).




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             The district court erred as a matter of law in prospectively enforcing the

             Injunction in the teeth of this conflict between state and federal judgments.

                    Without a stay, these extraordinary intrusions into Apple's business

             will cause grave irreparable harm. Depriving Apple of control over core

             features of the App Store is, standing alone, sufficient to warrant a stay. The

             new rules profoundly undercut the integrated iOS ecosystem that this Court

             sustained as lawful and that is the foundation of user trust and confidence

             in the App Store. The district court acknowledged that compliance will cost

             Apple "hundreds of millions to billions" of dollars annually, Order 16, which

             Apple can never recoup. Consumers would suffer from the destabilizing

             effects of the new injunction, while Epic would not be harmed by a stay This

             Court should enter an immediate stay of the prohibitions highlighted in the

             table above.

                                            BACKGROUND

                    This is the latest chapter in Epic's largely unsuccessful effort to use

             competition law to change how Apple runs the App Store. In 2021, the

             district court rejected all of Epic's antitrust claims, finding that Apple is not

             a monopolist. But as relevant, the court ruled narrowly that a categorical

             "anti-steering" provision violated Califolrnia's Unfair Competition Law, and



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             issued a limited Injunction prohibiting Apple from enforcing that rule. This

             Court affirmed in relevant part. Most recently, the district court concluded

             that Apple had violated the original Injunction and purported to exercise

             civil contempt powers to impose a brand new-and punitive-permanent

             injunction that fundamentally changes Apple's business.

                    Apple invented the iPhone, the iOS operating system, and the App

             Store. Oliver Decl. 'H 2. Apple's iOS ecosystem "enables Apple to offer

             customers a seamless experience across Apple's products and services which

             are foundational to the user experience." Id. 'H 3. Apple provides proprietary,

             intellectual property-protected tools and technologies to develop iOS apps,

             and monetizes these and other investments by requiring developers to pay a

             commission (of 15-30%) whenever they make a sale through the App Store

             of a "digital good or service" (i.e., content within an app). Id. 'W 4-5. Apple's

             IAP mechanism is a suite of services that, among other things, facilitates the

             purchase and sale of such in-app content. Id. 'W 5-6.

                    Epic brought this lawsuit in 2020, asserting claims under the federal

             and state antitrust laws as well as the UCL. EX. B, at 1. Epic's complaint

             primarily challenged Apple's requirements that iOS apps be distributed

             through the App Store and that IAP be the exclusive mechanism for



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             purchasing in-app content. Epic mentioned in passing Apple's anti-steering

             rule, which prohibited developers from including "buttons, external links, or

             other calls to action" encouraging users to purchase digital goods or services

             elsewhere, rather than using Apple's lAP Id. 'H 180.

                    After a bench trial, the district court rejected all of Epic's challenges to

             the App Store distribution and IAP exclusivity requirements. EX. C. The

             court recognized that these requirements have numerous procompetitive

             benefits, including security, privacy, and efficiency.          The court found,

             however, that although the anti-steering provision did not violate the
             antitrust laws, it was "unfair" under the UCL because it "hid[] information

             for consumer choice." Epic Games, Inc. U. Apple Inc., 559 F. Supp. 3d 898,

             1057 (N.D. Cal. 2021). The court found "a nationwide remedy to eliminate

             [this] provision] [was] warranted." Id. at 922. The short and simple

             Injunction-in a standalone document-bars Apple from "prohibiting
             developers from [] including in their apps and their metadata buttons,

             external links, or other calls to action" steering users to alternatives to lAP

             EX. D, 'H 1.

                    This Court issued a stay pending appeal, Epic Games, Inc. U. Apple,

             Inc., No. 21-16506 (9th Cir. Dec. 8, 2021), ECF No. 27, and affirmed in




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             relevant part. This Court upheld Apple's ability to require the exclusive use

             of IAP for in-app transactions, but predicted that state courts would find

             Apple's anti-steering provision to be unfair because it "decrease [d] consumer

             information." 67 F.4th 946, 966, 972, 1001 (9th Cir. 2023), cert. denied, 144

             S. Ct. 681 & 682 (2024). The Court affirmed the Injunction to "plrevent[]

             Apple from enforcing the [anti-steering] provision against any developer."

             Id.

                    On January 16, 2024, Apple filed a Notice of Compliance explaining its

             response to the Injunction. EX. E. Apple eliminated its prior prohibition

             against in-app steering and adopted a new entitlement framework that

             expressly allowed developers to include buttons, links, and other calls to

             action steering users to purchase alternatives outside the app. EX. F,
             § 3.1.1(a), see also EX. G, § 3.3. As relevant, developers could include such

             content anywhere in the app SO long as it did not disparage IAP and did not

             appear "on any page that is part of an in-app flow to merchandise or initiate

             a purchase using in-app purchase." EX. G, § 3.3. If a user taps on a link,

             continues to the developelr's website, and completes the transaction within

             the next seven days, the entitlement established a 12% or 27% commission.




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             EX. G §§ 1, 4, 5. 1. That is lower than Apple's commission on IAP transactions

             within the app.

                    While acknowledging that the Injunction does not "explicitly prohibit"

             Apple's new framework, Epic immediately challenged it as contrary to the

             Injunction's "purpose" and "spilrit." EX. H, at 17-18. The district court made

             a preliminary finding that, "viewed holistically, Apple's practice changes

             undermine the spirit of the injunction by limiting competition, impeding the

             free flow of information, and constraining user choice." EX. I, at 3. The court

             thereafter held two evidentiary hearings nearly a year apart, with extensive

             discovery ordered in between.

                    While Epic's challenge to injunction compliance was pending, the

             California courts held that Apple's anti-steering provision is not "unfair"

             under California law. See Beverage U. Apple Inc., 101 Cal. App. 5th 736

             (2024). Because the state and federal judgments conflict, Apple promptly

             moved to prospectively vacate the UCL judgment under Rule 60(b)(5). EX.

             J. As explained below, however, the district court refused to accept the

             Beverage judgment that the anti-steering rule is not "unfailr."

                    On April 30, 2025, the district court issued its Order holding Apple in

             civil contempt, including a new permanent injunction barring Apple from



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             engaging in conduct that was not adjudicated at trial or addressed by the

             Injunction. Order 75-76. Relying on Apple's internal forecasts, the court

             stated that these changes would cost Apple "hundreds of millions to billions"

             annually depending on developer implementation and consumer adoption.

             Id. at 16-17.      The district court required immediate compliance and

             preemptively denied a stay pending appeal. Id. at 76. Apple immediately

             complied. Oliver Decl. 'H 14. Apple now seeks a partial stay pending appeal.

                                               DISCUSSICN

                    This Court should immediately stay the prohibition against charging

             any commission on linked transactions and the prohibition against
             conditioning link placement or language. The traditional factors, see inken

             U. Holder, 556 U.S. 418, 434 (2009), all favor an immediate stay of those

             extraordinary intrusions into Apple's operation of the App Store pending

             resolution of Apple's merits appeal.

             I.     Apple Is Likely to Succeed on the Merits
                    A.      The New Prohibitions Are Unlawful
                    Contempt is unavailable if "there is [a] fair ground of doubt as to the

             wrongfulness of the defendant's conduct," i.e., if there is an "objectively

             reasonable basis for concluding that the [defendant's] conduct might be



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             lawful." Taggart, 587 U.S. at 557, 560 (citation omitted). The "standard is

             generally an objective one." Id. at 561. 'When construing a judgment," this

             court "1ook[s] to the natural reading of its text." United States U. DAS Corp.,

             18 F.4th 1082, 1040 (9th Cir. 2021) (citation omitted). "If the judgment is

             unambiguous, the court may not consider 'extlraneous' evidence to explain

             it." Id. (citation omitted).

                       The district court violated those principles. The original Injunction is

             short and unambiguous: Apple cannot "prohibit developers" from "including

                buttons, external links, or other calls to action" to IAP alternatives. EX.

             D 'H 1. The Injunction nowhere mentions a commission or the placement of

             links .

                       In concluding otherwise, the district court relied on its separate
             findings of fact (most of which dealt with other issues), which it called a "180 -

             page Injunction." Order 59. That is legal error. An injunction must "describe

             in reasonable detail-and not by referring to the complaint or other

             document-the act or acts restrained or required." Fed. R. Civ. R 65(d)(l)(C)

             (emphasis added), see Gates U. Shinn, 98 F.3d 463, 468 (9th Cir. 1996)

             (meaning must be found "within [injunction's] four colrnelrs"). The coulrt's

             findings of fact are an "other document," SO they cannot restrain new "act or



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             acts": "findings of fact" can be considered only to resolve ambiguity in an

             injunction's text, of which there is none here. DAS, 18 F.4th at 1041 (citation

             omitted). The district court dubbed this argument '"ludicrous," Order 57, but

             that is the clear requirement of Rule 65(d) and this Coulrt's caselaw. These

             "are no mere technical requirements": "basic fairness requires that those

             enjoined receive explicit notice of precisely what conduct is outlawed."

             Schmidt U. Lessard, 414 U.S. 473, 476 (1974).

                    The district court additionally invoked the Injunction's "spirit," Order

             61, relying on this Court's observation that a party may violate "the spirit of

             [an] injunction, even though its strict letter may not have been disregarded."

             Institute of Cetacean Rsch. U. Sea Shepherd Conservation Soe'y, 774 F.3d 935,

             949 (9th Cir. 2014). But in that case, unlike this one, the defendant aided

             and abetted the same conduct that had already been enjoined as unlawful.

             Moreover, this Coulrt's subsequent decisions confirm that a court may

             consider "extraneous evidence" only to help interpret an "ambiguous"

             judgment. DAS, 18 F.4th at 1040 (citation omitted). "[A] decree will not be

             expanded by implication or intendment beyond the meaning of its terms

             when read in the light of the issues[,] and the purpose for which the suit was




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             brought." Terminal RR. Ass'n U. United States, 266 U.S. 17, 29 (1924). The

             court erred in expanding the Injunction far beyond its terms.

                    1.      The Court Erred In Setting Apple's Prices
                    The Injunction does not bar Apple from charging a commission on

             linked transactions, which is an entirely new practice whose legality has

             never been adjudicated. Moreover, the district court recognized that, "in the

             absence of IAR Apple could still charge a commission on developers." Epic

             Games, Inc., 559 F. Supp. 3d at 1042. "In such a hypothetical world,

             developers could potentially avoid the commission while benefitting from

             Apple's innovation and intellectual property free of charge." Id. at 1042

             n.6l'7. The court found that "Apple is entitled to ... further guard against

             the uncompensated use of its intellectual property" Id. at 1042. Given these

             statements, it was at least "objectively reasonable" for Apple to conclude it

             could charge a commission. See Taggart, 587 U.S. at 560.

                    Indeed, the Injunction could not have prohibited Apple's commission.

             The UCL does not authorize courts to engage in overt and arbitrary
             rate-setting of this kind. See Cal. Grocers Ass'n U. Bank of Am., Nat? Tr. &

             Say. Ass'n, 22 Cal. App. 4th 205, 217-18 (1994), review denied (June 9, 1994),

             Lazzareschi Inv. Co. U. SF Fed. Say. & Loan Ass'n., 22 Cal. App. 3d 303, 311




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             (1971). Other courts recognize that such "detailed rate-setting" is "beyond

             [the district court's] proper role." In re Google Play Store Antitrust Litig.,

             2024 WL 4438249, at *9 (N.D. Cal. Oct. 7, 2024). Neither federal antitrust

             law nor the California UCL permit courts to set prices for private companies.

             Yet that is exactly what the district court has done here-ordered Apple to

             charge nothing for its products and services, to the tune of "hundreds of

             millions to billions" of dollars. Order 16.

                    The Takings Clause prohibits the government from directing private

             companies to permanently give away access to their property for free. See

             Cedar Point Nursery, 594 U.S. at 149. Yet the court has done just that,

             permanently depriving Apple of the right to exclude, which is "universally"

             held to be "fundamental" and "one of the most essential sticks" in the

             property bundle. Id. at 149-50 (citations omitted). At minimum, Apple has

             been deprived of its right to control access to federally protected intellectual

             property on terms of its choosing. See Oliver Decl. 'H 16. At the same time,

             developers have been granted a permanent easement to use that valuable

             property-including platform technologies, software tools, engagement with

             the userbase, and other products and services-without having to pay for it.




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                    2.      The Court Erred In Precluding Link Restrictions
                    Again, the Injunction says nothing about the placement or language of

             links within an app, it merely bars Apple from "prohibiting" such links. And

             it is well-settled that allowing something "subject to fixed rules about the

             time, place, and manner in which [that activity] may be conducted" does not

             "prohibit" it. Ysleta Del Sur Pueblo U. Texas, 596 U.S. 695, 697 (2022)

             (collecting cases). Indeed, the district court previously noted that Apple

             could comply by implementing reasonable "engineering or guidelines," EX.

             K, at 3, and recognized in the Order that some rules are not prohibitions,

             Order 62 n.66. At minimum, it was objectively reasonable for Apple to

             conclude that it could maintain the exclusivity of IAR including by
             prohibiting disparagement of IAP and placement of links in the IAP buy flow.

                    The district coulrt's new ban on conditioning the language and
             placement of links-thus enabling disparagement of IAP and links within

             the IAP buy-flow-allows developers to divert customers away from IAP

             from within the App Store's proverbial checkout aisle, as they are already

             attempting to do. That degrades the integrity of the IAP mechanism, which

             Apple has required for in-app purchases of digital content since the advent

             of the App Store. Oliver Decl. 'H 20. This Court previously sustained IAP



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             exclusivity, recognizing pirocompetitive benefits and holding that Apple's tie

             between app distribution and in-app payment was "clearly lawful." Epic

             Games, 67 F.4th at 998. It was objectively reasonable for Apple to continue

             maintaining the exclusivity of lAP-including through language and
             placement rules-given this Court's prior mandate approving that practice.

             See Hall U. City 0l'Los Angeles, 697 F.3d 1059, 1067 (9th Cir. 2012).

                    Even more, the First Amendment "offers protection when an entity

             engaging in expressive activity ... is directed to accommodate messages it

             would prefer to exclude." Moody U. NetChoice, LLC, 603 U.S. 707, 731 (2024).

             But the Order requires Apple to broadcast competing developer speech,

             including disparaging statements about IAR in the middle of the proverbial

             checkout aisle. Imagine a customer has come to a bookstore trusting its

             selection and curation of titles. The Order is akin to a requirement that the

             store include in the checkout aisle a billboard advertising that the same

             books are available on the publishers' own websites, with a link to purchase

             them there without paying the bookstore a penny-and disparaging the
             bookstore's prices or services. That is an extraordinary intrusion into

             property rights and a clear violation of the First Amendment. See id. at 729.




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                    B.      The New Rules Constitute Impermissible Punishment
                    The Order also violates bedrock due process protections. The "specific

             harm alleged" and found at trial was that Apple's prior rule that banned in-

             app steering was unfair. 559 F. Supp. at 943-44, 1054. Before the Injunction

             went into effect, Apple eliminated that prohibition and expressly allowed in-

             app steering. Apple thus stopped the enjoined conduct. Everything at issue

             in the contempt proceeding was new conduct never adjudged to be "unfair"

             under the UCL.

                    The district court repeatedly referred to Apple's "new anticompetitive

             acts." Order 3, see also id. at 58, 63, 78. But it enjoined them anyway,

             depriving Apple of notice and an opportunity to prove the lawfulness of those

             new practices. "[F] ull litigation" is required before modifying a decree to bar

             new conduct. United States U. Armour & Co., 402 U.S. 673, 681 (1971). That

             is particularly true where, as here, the original Injunction was entered sea

             sponte by the district court with no adversarial hearing. See United States

             U. Microsoft Corp., 147 F.3d 935, 943-44 (D.C. Cir. 1998).

                    Civil contempt sanctions may only coerce compliance with an existing

             order, and not punish non-compliance. See Bagwell, 512 U.S. at 826-28. But

             the commission and buy-flow bans do not coerce Apple into compliance with



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             the original Injunction and there is no way for Apple to purge: They are new

             permanent and punitive sanctions that will forever deprive Apple of core

             property rights and control over its business. In a dynamic and evolving

             technological environment, these new rules will handcuff Apple's ability to

             compete in perpetuity

                    These are not mere "clarifications" See Order 74. The Order punishes

             Apple with entirely new obligations that the Injunction clearly does not

             impose. Moreover, the district court's rationale was punitive: It dismissed

             Apple's statutory and constitutional arguments on the ground that "Apple

             flouted the Coulrt's order." Id. at 60 n.65. That is improper punishment, not

             civil contempt. See Young U. United States ex rel. Vuitton et Fits SA, 481 U.S.

             787 (1987). No matter how much the court disagreed with Apple's positions,

             it cannot unilaterally punish Apple.

                    c. A Conflicting State Judgment Precludes Prospective
                            Enforcement Of The Injunction
                    As an independent basis for reversal, the Injunction cannot be enforced

             prospectively because it is invalid as a matter of state law. Rule 60(b)(5)

             provides for vacate of an injunction where "applying it prospectively is no

             longer equitable." Fed. R. Civ. P 60(b)(5). And the right to prospectively

             enforce an injunction "falls with an injunction which events prove was


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             erroneously issued." Mine Workers, 330 U.S. at 295, see also Horne U. Flores,

             557 U.S. 433, 448 (2009), Davies U. Grossmont Union High Sch. Dist., 930

             F.2d 1890, 1394 (9th Cir. 1991). As a matter of law, events prove the original

             Injunction was wrongly issued and cannot be enforced prospectively

                    Specifically, relief from a judgment is warranted where, due to a

             subsequent development, "two cases arising out of the same transaction

             result in conflicting judgments." Betts U. Tow-Motor Forklift Co., 66 F.3d

             743, 748 n.6 (5th Cir. 1995), Pierce v. Cook & Co., 518 F.2d 720, 723 (10th Cir.

             1975) (en banc)), see also Fed. Ins. Co. U. Kingdom of Saudi Arabia (In re

             Terrorist Attacks on Sept. 11, 2001), 741 F.3d 353, 357 (2d Cir. 2013), Blue

             Diamond Coal Co. U. Trs. of UMWA Combined Ben. Fund, 249 F.3d 519, 525

             (6th Cir. 2001), Ritter v. Smith, 811 F.2d 1398, 1402-03 (nth Cir. 1987). It

             is an abuse of discretion to deny relief when a federal judgment based on

             state law conflicts with a state judgment on the same state-law claim, even

             when the federal judgment was affirmed in an earlier appeal. See Venom,

             LLC U. Plains Pipeline, L.P., 2022 WL 1090947, at *2-3 (9th Cir. Apr. 12,

             2022).

                    The district court committed legal error and abused its discretion in

             enforcing the Injunction prospectively notwithstanding the direct conflict



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             between the UCL judgment here and the subsequent Beverage judgment.

             The Beverage plaintiffs challenged Apple's same anti-steering rule under the

             same UCL "unfairness" prong that Epic invoked here. The state trial court

             rejected the claim on the merits, holding that the anti-steering provision was

             unilateral conduct immunized from UCL "unfairness" liability under United

             States U. Colgate & Co., 250 U.S. 300 (1919), and Chavez U. Whirlpool Corp.,

             93 Cal. App. 4th 363 (2001). See Beverage, 101 Cal. App. 5th at 746, 750.

             The Court of Appeal affirmed, and the Supreme Court denied review.

                    The judgment for Apple in Beverage directly conflicts with the

             judgment against Apple here. The federal judgment rests on the district

             coulrt's determination that California courts would find Apple's anti-steering

             provisions "unfair" under the UCL. In Beverage, the California courts

             adjudicated the exact same claim against Apple and reached the opposite

             conclusion, expressly rejecting the federal courts' construction of state law.

             See id. at 756 n.6 ("We    do not find [the federal] decisions persuasive on the

             precise issue presented by this appeaL").

                     The district court did not even address the conflict between the

             judgments, instead noting that Beverage did not "change" California law.

             Order 49. But ironically, that proves Apple's point: The anti-steering rule



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             has never been "unfair" under the UCL, as Apple has maintained since day

             one, and the California courts have now rendered a final judgment in favor

             of Apple that the anti-steering rule is not unfair.

                    The Erie doctrine exists to avoid the inequity that arises if "the

             outcome of the litigation in the federal court" on state law is not
             "substantially the same" as in state court. Guaranty Trust Co. U. York, 326

             U.S. 99, 109 (1945). Here, "[t]he outcome determination principle mandated

             by [Erie] has been violated." Pierce, 518 F.2d at 723. In our system of dual

             sovereignty, the state courts' judgment on the same state-law claim controls.

             See 28 U.S.C. § 1738, Growe U. Emison, 507 U.S. 25, 35-36 (1993), RR.

             Comm'n of Tex. U. Pullman Co., 312 U.S. 496, 500 (1941). Apple is thus likely

             to succeed in establishing that the two requirements challenged here cannot

             be imposed as a matter of federal law.

             11.    Apple Will Be Irreparably Harmed Absent a Stay
                    Without a stay of the challenged prohibitions, Apple will suffer serious

             and irreparable harm.

                    The district court has taken control over key portions of the App Store,

             barring Apple from charging a commission or setting conditions on link

             placement or language. That threatens lasting and irreparable harm to the



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             iOS ecosystem. Oliver Decl. 'W 15-20. The Order "dislrupt[s] and change[s]

             the whole nature of [Apple's] business," Am. Trucking Ass'ns, Inc. U. City of

             Los Angeles, 559 F.3d 1046, 1058 (9th Cir. 2009), requiring "fundamental

             business changes" that "cannot be easily undone," FTC U. Qualcomm, 935

             F.3d 752, 756 (9th Cir. 2019). These new rules compromise the integrity of

             Apple's integrated ecosystem by giving developers unlimited free ability to

             interfere with IAP while encouraging consumers to use alternative purchase

             options within Apple's buy flow. Oliver Decl. 'H 20. These requirements

             deprive Apple of its basic right to control the terms of access to its own

             intellectual property, services, and tools. Id. 'H 16.

                    The loss of commission revenue is also irreparable. IAP is the primary

             mechanism through which Apple monetizes the App Store, enabling Apple

             to invest in, operate, and improve its products and services. Id. 'W 5, 19. The

             district court recognized that Apple's projections "estimat[ed] a revenue

             impact of hundreds of millions to billions" from allowing links with no

             commission. Order 16-17. Even if Apple ultimately wins this appeal, Apple

             could not recover any losses from Epic (the sole plaintiff) because the money

             would benefit developers who are not parties to this suit. Because Apple

             could not recoup those losses in this litigation, they constitute irreparable



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             harm. See Philip Morris USA Inc. U. Scott, 561 U.S. 1301, 1304-05 (2010)

             (Scalia, J., in chambers).

                    "It is well established that the deprivation of constitutional rights

             unquestionably constitutes irreparable injury." Hernandez U. Sessions, 872

             F.3d 976, 994 (9th Cir. 2017) (quotation marks and citations omitted). Apple

             will also suffer irreparable injury to its reputation and goodwill that it has

             built for decades and which is foundational to Apple's brand. Oliver Decl. 'H

             20. Apple accordingly will suffer serious irreparable harm without a stay.

             111.   The Remaining Factors Favor a Stay
                    Epic will suffer little or no harm from a stay. It has no apps on the App

             Store and cannot directly benefit from the ordered changes. EX. L, at 38.

             Epic never attempted to prove injury to itself or its subsidiaries from Apple's

             compliance framework, and the district court did not grant Epic any
             remedial relief for Apple's past conduct.

                    The public interest also favors a stay "Judges make for poor 'central

             planners' and should never aspire to the role." NCAA U. Alston, 594 U.S. 69,

             103 (2021) (citation omitted). Yet the district court has exerted control over

             core features of the App Store through a seriously flawed ruling. At
             minimum, it is in the public interest to pause those massive changes until



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             this Court has an opportunity to decide this appeal. See Goldberg U. Barreca,

             2017 WL 3671292, at *8 (D. Nev. Aug. 24, 2017) ("[T]h€ public interest is best

             advanced by this court's restraint from meddling in private business
             dealings."), aff'd, 720 F. App'x 877 (9th Cir. 2018). And the vindication of

             constitutional rights is always in the public interest. Melendres U. Arpaio,

             695 F.3d 990, 1002 (9th Cir. 2012).

                    Hundreds of millions of consumers use the App Store platform. Their

             interests, as well as the security and privacy of the App Store, are threatened

             by implementing destabilizing changes before the serious questions Apple

             has raised are fully adjudicated. See Index Newspapers LLC U. US.

             Marshals Serv., 977 F.3d 817, 838 (9th Cir. 2020), Melendres, 695 F.3d at

             1002. Indeed, non-party developers are already seizing upon the Order to

             reduce consumer choice (and damage Apple's business) by, among other

             things, impeding the use of IAP Oliver Decl. 'W 17-18. These developments

             threaten to compromise and degrade the experience of users who trust Apple

             to deliver a seamless App Store experience. Id. 'H 9. This will engender

             confusion among customers and erode the goodwill in Apple. Id. 'H 20.

                    The district court's requirement of immediate implementation
             exacerbates all of these problems. This Court's intervention is urgently



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             warranted to avert the worst of these harms until Apple's appeal can be

             resolved on the merits.

                                             CONCLUSICN

                    This Court should immediately stay pending appeal the rulings
             barring Apple from (1) charging any commission or fee on purchases made

             outside an app (Order 75 'H 1), and (2) setting conditions on language,

             placement or flow for buttons, links, or other calls to action (Order 75 W 2-

             3).


             Respectfully submitted,

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             May 7, 2025




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                                 CERTIFICATE OF COMPLIANCE

                    The undersigned counsel of record certifies that the Motion complies

             with the type-volume limitation of Fed. R. App. P 2'7(d)(2) and Circuit Rule

             27-1(1)(d) because, excluding the parts of the Brief exempted by Fed. R. App.

             P 27(a)(2)(B), this document contains 5,173 words.
                    This document complies with the typeface requirements of Fed. R.

             App. P 2'7(d) because this document has been prepared in a proportionally

             spaced typeface using Century Schoolbook font in 14 point size.


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                                          INDEX OF EXHIBITS

               Exhibit                           Document Description

                            Order Granting Epic's Motion to Enforce Injunction, Denying
                            Apple's Motion to Set Aside Judgment, Denying Apple's Motion
                            Under Fed. R. Evid. 502(d), Denying Apple's Motion for Entry of
                  A
                            Judgment on Its Indemnification Counterclaim, and Referral to
                            the United States Attorney Re: Criminal Contempt, D.C. Dkt.
                            1508 (Apr, 30, 2025)

                  B         Complaint for Injunctive Relief, D.C. Dkt. 1 (Aug. 13, 2020)

                  C         Judgment, D.C. Dkt. 814 (Sept. 10, 2021)

                  D         Permanent Injunction, D.C. Dkt. 813 (Sept. 10, 2021)

                  E         Notice of Compliance by Apple Inc., D.C. Dkt. 871 (Jan. 16, 2024)

                            CX-0013 -App Store Review Guidelines effective as of date of
                  F         compliance
                            CX-0002 - Sto1reKit External Purchase Link Entitlement
                  G
                            Addendum for US Apps effective as of date of compliance
                            Epic's Motion to Enforce Injunction, D.C. Dkt. 897 Mar. 13,
                  H
                            2024)
                            Order Setting Evidentiary Hearing Re: Motion to Enforce
                   I
                            Injunction, D.C. Dkt. 925 (Apr, 23, 2024)
                            Apple's Motion to Set Aside Judgment Under Fed. R. Civ. P
                   J        60(b), D.C. Dkt. 1018 (Sept. 30, 2024)
                            Order Denying Apple's Motion to Stay Injunction Pending
                  K
                            Appeal, D.C. Dkt. 830 (Nov. 9, 2021)
                            Apple's Post-Evidentiary Hearing Trial Brief, D.C. Dkt. 1324
                   L
                            Mar. 7, 2025)



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                                    CERTIFICATE OF SERVICE

                    I hereby certify that on May 7, 2025, I electronically filed the foregoing

             Motion to Stay Injunction Pending Appeal with the Clerk of the Court

             for the United States Court of Appeals for the Ninth Circuit by using the

             appellate ACMS system, which will send notification of such filing to all

             ACMS participants.


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